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       Case 8:04-cr-00562-JSM-MAP Document 121 Filed 04/28/05 Page 2 of 6 PageID 289
A 0 245B (Rev 12103) Sheet 2 - Imprisonment
Defendant:         RUDI PENA-GOMEZ                                             Judgment - P a g e l of 4_
Case No.:          S:M-cr-562-T-30MAP




After considering the ntlvisory sentencing guidelines a n d all of t h e factors identified in Title 18 U.S.C. $5
3553(a)(l)-(7), the court linds that the sentence imposed is sufficient, but not greater than necessary. to comply with the
statutory purposes of sentencing.

                The tlefentlant is hereby comniitted to the custody of the United States Ihireau of Prisoris to he
imprisoned for a total tern1 of ONE IIUNDRED and THIRTY-FnT (135) RIONTIIS as to Counts One and Two of the
Indictment; all such terms to run concurrently.



-
X The court nukes the following reconlnlendations to the Bureau of Prisons: The defendant shall participate in the prison
exchange program (subject to the defendant qualifying for the program).

X The defendant is remanded to the custody of the United States hlarshal.
-The defendant shall surrender to the United States Marshal for this district.

             at -a.m.1p.m. on -.
         - as notified by the United States hlarshal.

   The defendant shall surrendur for service of sentence at the instirution designated by the Bureau of Priso~is.

         - before 2 p.m. on -.
             as notified by the United Stares Marshal.
         - as riorilied by the Probation or Pretrial Services Office.




         I have executed this judgment as follows:




         Defendant delivered on                                                  to                                 at

                                                                        , with a certified copy of this judgment.


                                                                                         Unilccl Stares M m h a l

                                                                    By:

                                                                     Deputy Marshal
       Case 8:04-cr-00562-JSM-MAP Document 121 Filed 04/28/05 Page 3 of 6 PageID 290
A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:         RUDI PENA-GOMEZ                                                  Judgment - Page 3of
Case No.:          8:04-cr-562-T-30MAP
                                                           SUPERVISED RELEASE

       Upon release froni imprisona~cnt,the defendant shall be on supervised release for a term of'TMKEE (3) YEARS ,as to
Counts One and Two of the Indictment; all such terms to run concurrently.

        The defendant shall report to the probation office in the district to which the defenclnnt is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from irnprisonmenr and at least two periodic drug tests
thereafter, as determined by the court.

         The above drug testing condition is suspended. based on the court's determination that the defendant poses a low risk of future
         substance abuse. However, the Court authorizes the probation officer to conduct random drug testing not to exceed 104 rests
         per year.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

         The defendant shall cooperate in the collection of DNA a directed by the probation officer. (Check, if applicable.)

          If this j u d p e n t imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
          the Schedule of Payments sheet of this judgment.

          The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.

                                            STANDARD COhJDITIONS OF SUPERVISION
          the defendant shnll not leave thejudici;d district \vithout the permission of the court or prohation ol'licer:
          the defendant shall report to thc probation oflicer and shall submit a truthful and complctc written report wilhin the first fivc days ofeach
          month:
          the defendant shall ansncr truthfully all inquiries by the probation officer and follow the i~lstructionsof the probation officer;

          the defendant shall support his or her dependents and meet other family responsibilities;
          the defendant shall work regularly at a lawful occupation. unless excused by the probation ofliccr for schooling. training, or other
          acceptable rerlsons:
          the defendant shall notify the probation officer at least ten d q s prior to any change in residence or cmploynxnt:
          the defendant shall refrain from esccssive use of alcohol and snail nor purchase. possess. usc. distribute. or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
          the defendant shall not frequent places where controlled substances are illegally sold. used. distributed. or administered:
          the defendant shall not associatc with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer:
          the defendant shall pcrniit ;I proba~ionofficer to visit him or her at any rime at home or clsc\+hcrcand shall pcrniit confiscation of any
          contraband observed in plain view of the probation officer,
          the defcndant shall notify the probation oflicer \tithin seventy-two hours of being arrested or questioned by a la\\ enforcement officer:

          the dekndnnt shall not cnter into any agreement to act as an informer or a special agent 01'3 1;1w cnli)~~ccnient
                                                                                                                         agency without the
          permission of the court:
          as directed h) the prohetion officer. the defendant shall notify third parties of risks that 111:ly bc occ;isiol~cdby the defendant's criminal record
          or personal hishr) or char;~cteristicsand shall permit the probation officer to rnahc such notilic;~tions: I I ~to confirm the defendant's
          compliance nit11such notilication requirement.
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                              -
A 0 245B (Rev. 12/03) Sheet 3C Supervised Release

Defendant:          RUDI PENA-GOMEZ                                        Judgment - Page 4 of 6
Case No.:           8:0j-cr-562-T-30MAP
                                           SPECIAL CO-DITIONS OF SUPERVISION

          The defendant shall also comply with the following additional conditions of supervised release:


X         If the defendant is deported, he shall not re-enter the United Sta~eswithout the express permission of appropriate governmental
          authority.

-
X         The mandatory druz testing provisions shall apply pursuant to the Violent Crime Conlrol Act. Based on the probation officer's
          determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed 103 tests
          per year.
       Case 8:04-cr-00562-JSM-MAP Document 121 Filed 04/28/05 Page 5 of 6 PageID 292
 A 0 2158 (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

 Defendant:           GERMAN DE ARMAS                                            Judgment - Page 5 of 6
 Case No.:            8:04-cr-562-T-30MAP

                                                 CRIAlIiiAL 3lONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6 .
                                 Assessment                           -
                                                                      Fine                        Total Restitution

           Totals:              $200.00                               lt'aived                    N/A

 -         The determination of restitution is deferred until -.                 An Anzended Jzrdgment in n Cri/ni?lnlCase ( A 0 2432) will
           be entered after such determination.
 -         The defendant must make restitution (including community resritution) to [he following payees in the amount listed
           below.
           If the defendant niakes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified othenvise in the priority order or ercentage payment column below. However, pursuant to 18 U.S.C. $
           3664(i). all nonfederal victinls must be paiabefore h e United States.
                                                                                                                 Priority Order o r
                                                       "l'otal                      Amount of                    Percentage of
 Name of Payee                                       Amount of Loss              Restitution Ordcred             Pavment




                                Totals:              -
                                                     S                           -
                                                                                 S

           Restinirion amount ordered pursuant to plea agreement S
           The defendant shall pay inrerest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day afrer the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 8 3612(g).
           The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          -          the interest requirement is waived for the - fine           - restitution.

          -          the interest requirement for the - fine              restitution is modified as follows:


* Findings for the ~otalamount of losses are required under Chapters 109A, 110, 1 IOA, and 113A of Title 18 for the offenses committed
on or after September 13, 1991, bur before April 23, 1996.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:        RUDI PENA-GOMEZ                                                 Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYhlENTS



I-laving assessed the defendant's ability to pay. payrllent of the total criminal monetary penalties are due as follows:

         -
         X Lump s u n payment of $ 200.00 due in~n~ediately,
                                                          balance due
                            -not later than                    . or
                            -in accordance -C. - D, - E or - F below: or
         -        Payment to begin immediately (may be combined with -C, -D, or -F below); or
         -        Payment in equal                 ( e . ~ . weekly.
                                                             ,       monthly. quarterly) installments of S             over a
                  period of          (e.g., months or years). ro commence                 days (e.g., 30 or 60 days) after the
                  date of this judgment: or
         -        Payment in equal                  (e.2.. weekly. monthly, quarterly) installments of S               over a
                  period of
                                 . (e.g., months or years) to commence                     (e.g. 30 or 60 days) after release
                  from iniprisollrnent to a term of supervision; or
         -        Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
         -        Special instructions regarding the payment of crinlinal monetary penalties:




Unless the court has expressly ordered otherwise. if this judgment irnposes a period of in1                       payment of criminal
monetary penalties is due during in1 risonment. All criminal monetary penalties. except                             made through the
                                        F
Federal Bureau of Prisons' Inmate inancial Responsibility Program. are made to the
The defendant shall receive credit for ail payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Nunlbers (including defendant number). Total Amount, Joint and
Several Amount. and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that (he defendant forfeit to the United States immediately and voluntaril any and all assets and property.
                                                                                                    h'
or portions thereof, subject to forfeiture, which are in the possession or control of t e defendant or the defendant's
nominees.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restiturion inrerest, (4) fine principal,
(5) community restitution, (6) fine inreresr (7) penalties. and (8)costs, including cost of prosecution and court costs.
